       EXHIBIT D




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From:               Trosch, Elizabeth T. <elizabeth.t.trosch@nccourts.org>
Sent:               Tuesday, October 17, 2023 9:56 PM
To:                 Eli Timberg; Tully, Kevin P; Molly Morgan; Dudley, Michael W.; Beebe, Jason R; McFadden, Garry L.;
                    Guise, George
Cc:                 Chinn-gary, Elisa A.; Calloway, Casey L.; Merriweather, Spencer B.; Baxter Sabio, Robin F.; Bazzle,
                    Christopher E.; Beer, Francis G.; Blackwell, Ashley N.; Bowditch, Kristen D.; Brown, Freddie; Carver,
                    Thomasa D.; Dangerfield, Kristen N.; Dangler , Jason W.; Harris, Benjamin D.; Higgs, Patricia P.;
                    Horton, Ethan S.; Ivery, Cheryl M.; Jenkins, Tarita M.; King, Jyraiel N.; Lytle, Penny; Moore, Patricia R.;
                    Moore, Wanda T.; Nelson Jr., Tony R.; Parker, James A.; Peters, Leigh T.; Phifer, April N.; Simmons,
                    Grier M.; Stanley, Shemrico R.; Stokes, Teresa A.; Strang , Barbara C.; Taylor, Antoine R.; Terry,
                    Christopher D.; Weeks, Nathan L.; Wilson, Felicia H.; Blake, Aretha V.; Burke-Hayer, Shante'; Culler,
                    Jena P.; Davis, Roderick G.; Fickling-alvarez, Faith A.; Fleet, Jennifer L.; Hands, Tyyawdi M.; Henderson,
                    Gary L.; Levine, Alyssa M.; Little, C. Renee; Mann, Christy T.; Marvel, Johnathon R.; Mccallum, Karen D.;
                    Mcthenia, Paige B.; Mobley, Samantha C.; Newton, Matthew D.; Oseguera, Cecilia; Patterson, Rhonda
                    L.; Smith, Keith S.; Trosch, Elizabeth T.; Wiggins, Roy H.
Subject:            Procedure For Reconciling Bond Update Discrepancies Between eWarrants and Odyssey


Good evening,

We are eight days from the launch of Odyssey in Mecklenburg County and I have become aware of a known integra on
issue between eWarrants and Odyssey which impacts defendants whose condi ons of release are modiﬁed in court and
should be released. It is important to understand how the integra on is designed and expected to perform, what the
defect is and our local business prac ces for correc ng it.

Criminal processes (magistrate orders, arrest warrants, summonses) issued in North Carolina are issued in
eWarrants. When a process is served, the Magistrate conducts an ini al appearance and issues a Release Order in
eWarrants. eWarrants will then push the case into Odyssey Case Manager with the criminal process, release order and
any other documents a ached in eWarrants. The magistrate selects the appropriate court calendar and session in
eWarrants which causes the case to be placed on the court session calendar for First Appearance. When a judge
modiﬁes condi ons of release at ﬁrst appearance, bond hearing or entry of an order out of court, the Clerk of Superior
Court is required to immediately update eWarrants with the new release condi ons that have been set by the
judge. eWarrants then autogenerates a Release order with the new condi ons, the name of the judge who modiﬁed the
condi ons and the signature of the clerk who entered the informa on into eWarrants. eWarrants should then push the
modiﬁca on into Odyssey Case Manager. This data push should transmit the release order autogenerated in eWarrants
and should update the bond condi ons in the “bonds” tab of the case in Odyssey Case Manager. This data should then
be viewable in Portal. When a defendant is prepared to meet or eﬀectuate condi ons of release by pos ng of a secured
bond by surety or accommoda on bondsman, custodial release, unsecured bond or Wri en Promise to Appear, the
magistrate must enter the appearance bond and release event into Odyssey Case Manager.

The known defect relates to the integra on between eWarrants and Odyssey at the me that modiﬁca on of release
condi ons is updated in eWarrants. In some cases, the informa on does not migrate from eWarrants to Odyssey. This
results in situa ons, like those reported by many of you, in which Odyssey Case Manager and Portal do not reﬂect the
updated condi ons of release. In these instances, eWarrants will show a release order modiﬁca on event and the
autogenerated modiﬁca on order. This results in a discrepancy between the condi ons of release documented in
eWarrants and Odyssey. For cases in which the judge who modiﬁed condi ons entered an order in court, the order will
appear on the documents tab in Odyssey Case Manager and on Portal, even though the bond informa on on the case
summary and “bonds” tab does not reﬂect the modiﬁca on. The informa on in Odyssey Case Manager must be
updated in order to process the appearance bond and release.

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There are two workarounds we are implemen ng to correct these errors. Tyler Technologies provides NCAOC a daily
report of eWarrants integra on failures which is forwarded to Mecklenburg County Key Court Oﬃcials each morning
(beginning October 13, 2023). The Clerk of Superior Court is then manually upda ng release condi ons in Odyssey Case
Manager to accurately reﬂect the modiﬁca on made in court. The second workaround is implemented at the deten on
center when a defendant is seeking to execute an appearance bond and Odyssey does not have the updated release
condi ons. When a surety, accommoda on bondsman or custodian presents to the public window of the criminal
magistrates court at the deten on center to eﬀectuate release, the magistrate must check the release condi ons in
Odyssey Case Manager. If the condi ons in Odyssey are inconsistent with the condi ons that the person appearing is
seeking to fulﬁll, the magistrate must check the documents tab on the case in Odyssey to review any modiﬁca on order
in the ﬁle with a judge’s signature and if no order is on the case, check eWarrants for a modiﬁca on event and
autogenerated order. If there is an order that clearly sets modiﬁed condi ons that the defendant is prepared to meet,
the magistrate must manually update the condi ons in Odyssey Case Manager and process the appearance bond. If a
defendant, his family member or a orney report that condi ons were modiﬁed in court to an unsecured bond or
wri en promise to appear, then the magistrate in AP should be immediately no ﬁed. The magistrate should check the
documents tab in the case and/or eWarrants to conﬁrm the modiﬁed condi ons, manually update Odyssey Case
Manager and process the appearance bond.

When a defendant is seeking release because he has met condi ons of release, the criminal magistrate on duty should
be no ﬁed so that the magistrate can verify the modiﬁca on in Odyssey and/or eWarrants. If there has been a
modiﬁca on, the magistrate should manually update Odyssey Case Manager and the defendant should be presented to
the magistrate to complete the appearance bond.

I hope that this explana on of the defect and guidance is helpful. I will defer to Chief Magistrate Moore to provide a
point of contact, phone number or email address that a orneys may use to alert the criminal magistrate that a
defendant is being held in custody despite mee ng condi ons of release. Please do not hesitate to contact me with any
ques ons or for assistance with cases in which there is a discrepancy between eWarrants and Odyssey.


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